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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MATTHEW RALSTON                                    CIVIL ACTION

                       v.                           NO. 19-1539

 MITCHELL GARABEDIAN, ESQ.,
 KURTIS N. POULOS, MITCHELL
 GARABEDIAN LAW OFFICE


                                           ORDER
       AND NOW, this 24 th day of August 2022, upon considering Plaintiff's amended Motion

for substitution (ECF Doc. No. 432), confirming service upon the nonparty sought to be substituted

(ECF Doc. No . 433), and finding Plaintiff has not met his burden of securing a personal

representative consistent with Pennsylvania law as more fully detailed in the accompanying

Memorandum, it is ORDERED:

       1.     Plaintiff's amended Motion for substitution (ECF Doc. No . 432) is DENIED

without prejudice; and,

       2.      We grant Plaintiff leave, by September 9, 2022, to either: move for an extension

of time to move for substitution of a personal representative; or, absent a timely motion for an

extension, show cause in a memorandum not exceeding ten pages as to why we should not dismiss

his claims against the deceased Kurtis Poulos.




                                                    KEARNEY,J
